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AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District Court
                                                                for the

                                                    Northern District of California


                  United States of America
                                V.

                                                                          Case No.
                  Brian Gutierrez Vlllasenor




                                                                                  3        1   8 '?'06?4
                          Defendant(s)


                                                 CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 11, 2018 through May 7, 2018 in the county of                        San Francisco        in the

     Northern          District of            California       , the defendant(s) violated:

            Code Section                                                    Offense Description
21 U.S.C. 841(a)(1) and 841(b)(1)               Distribution of Cocaine, a Schedule II Controlled Substance
(C)




         This criminal complaint is based on these facts:
Please see attached affidavit of FBI Special Agent Jonathan Clemens.




         Sf Continued on the attachedsheet.

Appmved as to form: -
                                                                                               Complainant's signature

AUSA Rita Lin                                                                         FBI Special Agent Jonathan Clemens
                                                                                                Printed name and title


Sworn to before me and signed in my presence.


Date:      411                                                                                          's signature

City and state:                         San Francisco, CA                      Hon. Joseph C. Spero, U.S. Magistrate Judge
                                                                                                Printed name and title




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